Case 1:19-cv-01194-LMB-TCB Document 10 Filed 11/08/19 Page 1 of 2 PageID# 41



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

Sami Debizet                                   )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )    Civil Action No. 1:19cv1194-LMB/TCB
                                               )
       81.com an Internet domain name,         )
and                                            )
       John Doe,                               )
                                               )
       Defendants.                             )

                                  Notice of Voluntary Dismissal

       Please Take Notice that, pursuant to Federal Rule of Civil Procedure 41(a), th Plaintiff

does hereby voluntarily dismiss this action.

Date: November 8, 2019

                                                    Respectfully Submitted,
                                                    Sami Debizet
                                                    By Counsel

       /s
___________________
Jonathan Westreich, Esq.
VSB No. 37393
Greenberg & Lieberman, LLC (of counsel)
604 Cameron Street
Alexandria, Virginia 22314
703-299-9050 / fax: 703-548-1831
jonathan@westreichlaw.com

Stevan Lieberman, Esq.
Greenberg & Lieberman, LLC
1775 Eye Street, Suite 1150
Washington, D.C. 20006
(202) 625-7000, Fax: 202-625-7001
Stevan@aplegal.com
Case 1:19-cv-01194-LMB-TCB Document 10 Filed 11/08/19 Page 2 of 2 PageID# 42



                                     Certificate of Service

       I hereby certify that on the 8th day of November, 2019 I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

J. Kevin Fee
Morgan Lewis & Bockius
1111 Pennsylvania, Avenue, N.W.
Washington, D.C. 20004
kevin.fee@morganlewis.com

                                                                    /s
                                                              _______________________
